
Upon consideration of the petition filed on the 6th day of June 2006 by Defendant (Forsyth Memorial Hosp.) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of June 2007."
Upon consideration of the petition filed by Defendant (Forsyth Memorial Hosp.) on the 27th day of October 2006 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th day of June 2007."
